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                                  * * § 362 INFORMATION SHEET * *

      PERLA MARIA MEREZKO                         19-17398-btb
     DEBTOR                                       #,                             MOTION #:
      BMW BANK OF NORTH AMERIC                    CHAPTER: 7
     MOVANT
                    Certification of Attempt to Resolve the Matter Without Court Action:
     Moving counsel hereby certifies that pursuant to the requirements of LR 4001(a)(), an attempt has
     been made to resolve the matter without court action, but movant has been unable to do so.
     Date: 08/19/2020                              Signature: /s/ Martin L. Welsh
                                                                  Attorney for Movant

     PROPERTY INVOLVED IN THIS MOTION: 2015 MINI Hardtop 4 Door Cooper S Hatchbac
     NOTICE SERVED ON: Debtor(s)    ✔     ; Debtor's counsel    ✔       ; Trustee ✔                  ;
     DATE OF SERVICE:  08/28/2020
          MOVING PARTY'S CONTENTIONS:                     DEBTOR'S CONTENTIONS:
     The EXTENT and PRIORITY of LIENS:             The EXTENT and PRIORITY of LIENS:

     1st $14,297.77                                      1st
     2nd                                                 2nd
     3rd                                                 3rd
     4th                                                 4th
     Other:                                              Other:
     Total Encumbrances:                          ✔




                                                         Total Encumbrances:

     APPRAISAL of OPINION as to VALUE:                   APPRAISAL of OPINION as to VALUE:
       $11,864.00




            TERMS of MOVANT'S CONTRACT                           DEBTOR'S OFFER of "ADEQUATE
                 with the DEBTOR(S)::                              PROTECTION"for MOVANT :


     Amount of Note: $37,165.56                           .
     Interest Rate: 4.17%                                 .
     Duration: 72 Months                                  .
     Payment per Month: $585.41                           .
     Date of Default: 2/29/2020                           .
     Amount in Arrears: $3,445.71                         .
     Date of Notice of Default:                           .
     SPECIAL CIRCUMSTANCES:                               SPECIAL CIRCUMSTANCES:



     SUBMITTED BY: Martin L. Welsh                        SUBMITTED BY:
                /s/ Martin L. Welsh
                                                          SIGNATURE:
